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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                            )
    In re:                                                                  )   Chapter 11
                                                                            )
    COMPUTE NORTH HOLDINGS, INC., et al.,1                                  )   Case No. 22-90273 (MI)
                                                                            )
                     Debtors.                                               )   (Jointly Administered)
                                                                            )   Re: Docket Nos. 91, 256

                               NOTICE OF PROPOSED
                             ORDER (I) APPROVING THE
                        SALE OF CERTAIN CONTAINER ASSETS
                     FREE AND CLEAR OF ALL LIENS, CLAIMS, AND
                  ENCUMBRANCES AND (II) GRANTING RELATED RELIEF

PLEASE TAKE NOTICE THAT:

             1.    On September 26, 2022, the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) filed a motion [Docket No. 91] (the “Sale Motion”)2 seeking, among

other things, approval of the sale of all or substantially all or any subset of the Debtors’ assets.

             2.    On October 24, 2022, the Court entered an order [Docket No. 256] (the “Bidding

Procedures Order”) approving certain bidding procedures in connection with the proposed sale of

the Debtors’ assets pursuant to the Sale Motion.

             3.    Contemporaneously herewith, the Debtors have filed the Notice of Successful

Bidder for Certain Container Assets, notifying parties in interest that, pursuant to the Bidding



1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Compute North Holdings, Inc. (4534); Compute North LLC (7185); CN Corpus Christi LLC
      (5551); CN Atoka LLC (4384); CN Big Spring LLC (4397); CN Colorado Bend LLC (4610); CN Developments
      LLC (2570); CN Equipment LLC (6885); CN King Mountain LLC (7190); CN Minden LLC (3722); CN Mining
      LLC (5223); CN Pledgor LLC (9871); Compute North Member LLC (8639); Compute North NC08 LLC (8069);
      Compute North NY09 LLC (5453); Compute North SD, LLC (1501); Compute North Texas LLC (1883);
      Compute North TX06 LLC (5921); and Compute North TX10 LLC (4238). The Debtors’ service address for the
      purposes of these chapter 11 cases is 7575 Corporate Way, Eden Prairie, Minnesota 55344.
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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Sale
      Motion.
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Procedures Order, the Debtors have designated Crusoe Energy Systems, LLC (the “Purchaser”) as

the Successful Bidder for the 11 specific modular data center containers (the “Purchased

Containers”).

       4.       The Debtors hereby file a proposed form of order, attached hereto as Exhibit A,

approving the sale of the Purchased Containers to the Purchaser.


                          [Remainder of Page Intentionally Left Blank]




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Dated: November 14, 2022
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